
*661OPINION.
Smith:
It is the claim of the petitioner that the reasonable depreciation allowance upon the gasoline plant for the year 1920 was $12,113.38 computed on units of gasoline produced. We have not before us the return of the partnership or the return of the petitioner for any year. The petitioner claims the right to deduct from gross income one-half of the total depreciation suffered by the plant. The record does not disclose whether the partnership claimed or was allowed any depreciation upon the plant. The conditions under which the plant was operated by the partnership are not in evidence. Depreciation upon partnership assets is deductible from gross income in partnership returns. Section 218 of the Revenue Act of 1918. The books of the partnership and of the petitioner for 1920 were audited by the respondent and a partnership return was compiled and the petitioner’s return was amended based apparently upon the partnership return and upon certain adjustments made in the individual return. For lack of evidence upon this point the determination of the respondent with respect to the deficiency must be and is sustained.

Judgment will he entered for the respondent.

